         Case 4:14-cr-00010-DPM Document 282 Filed 08/26/14 Page 1 of 1
                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                        WESTERN DIVISION

UNITED STATES OF AMERICA                                                                      PLAINTIFF

        VS.            'f:l~C~OOOI0-11 JLU \COURI
                                        NO.

0 e.l<e itf>l, h,~cw w1\\\~\'1\S
                                       U.S. OISii\t OF ARKANSAS
                                  EASTERN                                                  i!\t::€n
                     WAIVER OF APPEARANCE FOR ARRAIGNMENT                        ~UG 1 6 1Q\It
                            AND ENTRY OF PLEA OF NOT GUlLTY                               I.J~:r+-
               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Proced~P'~~CGACK. CLERK
                                                                                JAME.SW.McC                         -
        NOW COMES Defendant in the above-referenced case who, along with hi~unders~~                            K
hereby acknowledges the following:                                          ·- D

1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
        information in this case. Defendant understands the nature and substance of the charges contained
        therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
        advised of all of the above by his/her attorney.

2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
        for arraignment in open court on this accusation. Defendant further understands that, absent the
        present waiver, he/she will be so arraigned in open court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


              $ -:l\-;}ul~
        Date                                     Defendant's Signature


        Date{l
               ~1 1 si!J. o1L.f                    ~~-~~
                                                 counseif()ffent's Signature


                                         ORDER OF COURT

 g/"     The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
         plea of not guilty is entered for the defendant effective this date.

 a       The defendant's request to waive appearance at the arraignment is hereby DENIED.

               f .. 'Z ~-llf
         Date                                      Judicial Officer



cc:     All Counsel of Record
        U.S. Probation Office
        U.S. Marshats Service
        Presiding Magistrate Judge
